               Case 5:19-cv-02083-JGB-SHK Document 211 Filed 06/16/23 Page 1 of 4 Page ID #:4497




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                    8 named as COUNTY OF RIVERSIDE and
                      RIVERSIDE SHERIFF’S
                    9 DEPARTMENT”) and SHERIFF-
                      CORONER CHAD BIANCO
                   10
                   11                           UNITED STATES DISTRICT COURT
                   12            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                   13
                   14 TRACY ALVES, individually and as                 Case No. 5:19-CV-02083-JGB-SHK
                      Successor in Interest for KEVIN R.               [Hon. Jesus G. Bernal, District Judge;
                   15 NIEDZIALEK, deceased,                            Hon. Shashi H. Kewalramani,
                                                                       Magistrate Jude]
                   16                  Plaintiff,
                                                                       NOTICE OF APPEAL TO THE
                   17            vs.                                   UNITED STATES COURT OF
                                                                       APPEALS FOR THE NINTH
                   18 RIVERSIDE COUNTY, RIVERSIDE                      CIRCUIT
                      SHERIFF’S       DEPARTMENT,
                   19 SHERIFF-CORONER        CHAD
                      BIANCO, DEPUTY BRIAN KEENEY,
                   20 and DOES 3-10,
                   21                  Defendants.
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BISGAARD
& SMITH LLP
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ATTORNEYS AT LAW              NOTICE OF APPEAL TO THE UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT
               Case 5:19-cv-02083-JGB-SHK Document 211 Filed 06/16/23 Page 2 of 4 Page ID #:4498




                   1             NOTICE IS HEREBY GIVEN that Defendants COUNTY OF RIVERSIDE
                   2 (erroneously named as COUNTY OF RIVERSIDE and RIVERSIDE SHERIFF’S
                   3 DEPARTMENT”) and SHERIFF-CORONER CHAD BIANCO hereby appeal to the
                   4 United States Court of Appeals for the Ninth Circuit from the Order of the District
                   5 Court filed on May 19, 2023 [Dkt 210] denying Defendants’ renewed motion for
                   6 judgment as a matter of law and the related Judgment filed and signed by the District
                   7 Court on April 12, 2023 [Dkt. 202]. A true and correct copy of the District Court’s
                   8 May 19, 2023 Order is attached as Exhibit “A” and a true and correct copy of the
                   9 related Judgment is attached as Exhibit “B”.
                   10
                   11 DATED: June 16, 2023                   LEWIS BRISBOIS BISGAARD & SMITH LLP
                   12
                   13
                                                             By:         /s/ Abigail J. R. McLaughlin
                   14
                                                                      TONY M. SAIN
                   15                                                 TORI L. N. BAKKEN
                   16                                                 ABIGAIL J. R. McLAUGHLIN
                                                                   Attorneys for Defendants,
                   17                                              COUNTY OF RIVERSIDE (erroneously
                   18                                              named as COUNTY OF RIVERSIDE and
                                                                   RIVERSIDE SHERIFF’S
                   19                                              DEPARTMENT”) and SHERIFF-
                   20                                              CORONER CHAD BIANCO

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ATTORNEYS AT LAW              NOTICE OF APPEAL TO THE UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT
               Case 5:19-cv-02083-JGB-SHK Document 211 Filed 06/16/23 Page 3 of 4 Page ID #:4499




                    1                      FEDERAL COURT PROOF OF SERVICE
                                              Tracy Alves v. Riverside County, et al.
                    2                 USDC Case No. 5:19-cv-02083-JGB-SHK // CM# 51446-04
                    3 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                    4       At the time of service, I was over 18 years of age and not a party to the action.
                      My business address is 633 West 5th Street, Suite 4000, Los Angeles, CA 90071. I
                    5 am employed in the office of a member of the bar of this Court at whose direction the
                      service was made.
                    6
                            On June 16, 2023, I served the following document(s): NOTICE OF APPEAL
                    7 TO THE UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT
                    8         I served the documents on the following persons at the following addresses
                        (including fax numbers and e-mail addresses, if applicable):
                    9
                                                 SEE ATTACHED SERVICE LIST
                   10
                                 The documents were served by the following means:
                   11
                                (BY COURT’S CM/ECF SYSTEM) Pursuant to Local Rule, I electronically
                   12            filed the documents with the Clerk of the Court using the CM/ECF system,
                                 which sent notification of that filing to the persons listed above.
                   13
                           I declare under penalty of perjury under the laws of the United States of
                   14 America and the State of California that the foregoing is true and correct.
                   15            Executed on June 16, 2023, at Los Angeles, California.
                   16
                   17                                                     /s/ Corinne Taylor
                                                                    Corinne Taylor
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ATTORNEYS AT LAW              NOTICE OF APPEAL TO THE UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT
               Case 5:19-cv-02083-JGB-SHK Document 211 Filed 06/16/23 Page 4 of 4 Page ID #:4500




                   1                                     SERVICE LIST
                                             Tracy Alves v. Riverside County, et al.
                   2                  USDC Case No. 5:19-cv-02083-JGB-SHK // CM# 51446-04
                   3     John Burton, Esq. (SBN 86029)                   T. Kennedy Helm, IV (SBN 282319)
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                   9     for KEVIN R. NIEDZIALEK, Deceased
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                         818) 347-4118 Fax
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                   14    Attorneys for Plaintiff, TRACY ALVES,
                         Individually and as Successor in Interest
                   15    for KEVIN R. NIEDZIALEK, Deceased
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ATTORNEYS AT LAW              NOTICE OF APPEAL TO THE UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT
